Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 1 of 29




EXHIBIT A
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 2 of 29




                                                  UNITED          STATES      DISTRICT          COURT
                                                  WESTERN          DISTRICT         OF    NEW    YORK



                                                                       *
            UNITED STATES OF AMERICA,                                                     Docket No.
                                                                               1 : 19-cr-00227- JLS-MJR-1
                                                                       *


                                                                       *
                                                                                          Buffalo,       New York
                                                                       *
                                       v .                                                April    14,    2021
                                                                       *
                                                                                          10:00    a.m.

                                                                       *
            PETER         GERACE,            JR. ,                                        ORAL ARGUMENT
                                                                       *

                                                                       *
                                       Defendant              (3) .
                                                                       *

        *    *   ie   k    *   *   *    *     *   *   *   *   *    *   *




                                                      TRANSCRIPT OF            PROCEEDINGS
                                   BEFORE THE HONORABLE JOHN L.                                SINATRA,        JR.
                                                  UNITED STATES              DISTRICT          JUDGE




       APPEARANCES :



       For       the      Government:                                  JAMES    P.       KENNEDY,       JR.,
                                                                       UNITED STATES             ATTORNEY,
                                                                       By    JOSEPH       M.    TRIPI,    ESQ.,
                                                                             BRENDAN       T.    CULLINANE,          ESQ.,
                                                                       Assistant United States Attorneys,
                                                                       Federal Centre,
                                                                       138    Delaware Avenue,
                                                                       Buffalo,       New York           14202
                                                                       Assistant United States Attorney
                                                                       Appearing          for    the    United States



       For       the      Defendant:                                   JOEL    L.    DANIELS,          ESQ.,
                                                                       42    Delaware          Avenue,
                                                                       Suite    700,
                                                                       Buffalo,       New York           14202.



       The Courtroom Deputy:                                           KIRSTIE       L.    HENRY
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 3 of 29

                                      Proceedings       - 4/14/21                                2




    1   Court    Reporter:                      BONNIE S. WEBER,
                                                Notary Public,
    2                                           Robert H.       Jackson Courthouse,
                                                2   Niagara     Square,
    3                                           Buffalo, Nev/ York   14202,
                                                Bonnie_Weber@nywd . uscour ts . gov .
    4
                     Proceedings recorded by mechanical stenography,
    5                        transcript produced by computer.

    6


    7                       (Proceedings       commenced at       10:00    a.m.)


    8


    9                THE   CLERK:     All   rise.


   10                The United States District Court               for the Western

   11   District of New York is now in              session.       The    Honorable John

   12   Sinatra presiding.


   13                THE   COURT:     Please be seated.

  14                 THE CLERK:       Court    calls    case    number    19-CR-227,   United

  15    States   versus     Peter Gerace.        This    is    the date set    for oral

  16    argument .


  17                 Counsel,   please      state   your appearances.


  18                 MR.   TRIPI:     Joseph Tripi and Brendan Cullinane for               the

  19    United States.

  20                 Good morning,      Your Honor.

  21                 THE   COURT:     Good morning.


  22                 MR.   DANIELS:     Joel    Daniels       for Mr.   Gerace.


  23                 THE COURT:       Good morning,       Counsel.        Good morning,

  24    Mr.   Gerace.


  25                 THE   DEFENDANT:       Good morning.
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 4 of 29

                                                     Proceedings         -    4/14/21                                       3




       1                   THE COURT:             We're here            today on Mr.        Gerace 's motion           to

       2   amend a condition of his pretrial                                 release.      My   review is     de   novo


       3   and we're proceeding today in person because I deem this

       4   proceeding essential                   under Chief            Judge Geraci's           February 24

       5   general     order.


       6                   I   studied          the   papers,       spent a         lot of time thinking

   7       about them.              So    I'm more         interested         in having a back-and-forth


   8       conversation with                   counsel      rather       than    hearing a        soup-to-nuts

   9       presentation             from either            side.


  10                       So with that in mind,                    is    there anything we need to

  11       talk about          before we get               started with some questions from me?

  12                       MR.      TRIPI:        No,      Judge.


  13                       MR.      DANIELS:          I    don't    believe         that   would be helpful,

  14       Judge.      We've tried,               but haven't            been   successful with it.

  15                       THE COURT:             Okay.         Well,     we'll     see what we can do


  16       here .     If    I miss         something and you                 really need to,         you   know,       sum


  17       it up at        the end,            please      do   that.

  18                       But      I    think    I'm going         to    cover     everything that          you

  19       want     covered here.               So    let me       start with,        who    is    talking,

  20       Mr .   Tripi,       on       your   side       today?

  21                    MR.         TRIPI:       Yes,      Judge.


  22                    THE COURT:               What’s         the current         risk of danger here            if

  23       Mr.    Gerace were allowed                   to work at Pharaoh's                for two or three

  24       hours every morning,                  early,         when    no one else is            there?

  25                   MR.          TRIPI:       I    think      that's       the   key part,       Judge,    is   I
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 5 of 29

                                                Proceedings        - 4/14/21                                           4




       1   don't    know       if we can        assure       that no one       else    is   going          to be

    2      there.


       3                  One thing we            learned through time on               this         job    is where

       4   there    is    a    will,      there   is    a way.     And    here,       Pharaoh's            is

    5      essentially the home base                    for    the bulk of Mr.          Gerace’s            criminal

    6      activity.


    7                     And he's        charged in certain counts with engaging in

    8      that conduct with other people,                       frankly,       who are employed at

    9      Pharaoh's          and who attend Pharaoh's.

   10                     So any conditions that allow him to go                            to that place

   11      provides him with opportunities                       to consult with people                    that    he's

  12       engaged       in    this    conduct with.


  13                      The maintaining of                 the drug premises          count        charges

  14       Section 2,         liability.          The    sex   trafficking count                is   a



  15       conspiracy.             Obviously,      by definition,             there   is    an agreement

  16       with at      least       one   other person         there.

  17                     As    I    indicated in my papers,               a    number      of    the     essential


  18       employees at            Pharaoh's      are members of          the Outlaws Motorcycle

  19       Club,   who we deem to be a                  criminal    organization.

  20                     And       in my papers,         I   think you        could see         from a perusal

  21       of   that,    those people have already,                  in       our view,         committed a

  22       federal      crime potentially by either                  lying       to   federal         agents or

  23       committing perjury              to   this    Court,     where       they apparently totally

  24       contradicted an            interview with agents with                  respect        to      their

  25       ability      to do      the banking activity at                Pharaoh's without
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 6 of 29

                                               Proceedings              -   4/14/21                                             5




    1   Mr.    Gerace.


    2                  Mr.       Ermin    is       the manager.              He's    the       international


    3   president       of       the Outlaws             and he     says      in    the papers             the    defense


    4   submitted       that he can't do                     the banking.            I’m paraphrasing.

    5                  And unbeknownst                   to the defense probably,                         he gave an


    6   interview       the       day of       the       search warrant             at    Pharaoh's          to    federal


    7   law    enforcement where he                      explained he            does     the       banking


    8   25    percent       of    the    time because Mr.                   Gerace       is    out    of    town.


    9                  So    there       is    an      example you           could point             to    right    in    the


   10   face of    the papers here                     of people he worked with bending the


  11    rules,    at    a minimum,             to his benefit.

  12                   And I       don't       think         that it's        necessarily reasonable                      for

  13    probation       to have          to go         to    Pharaoh's        to monitor Mr.               Gerace when


  14    we    can assure he's             at       his      house and more easy                 to monitor there.


  15                   And there          is       —     experience and logic probably dictate

  16    there's    less          likelihood that              people who would be willing to


  17    commit    crimes,          in    the       context of           Pharaoh's        Gentlemen's              Club,


  18    would risk       going          to Mr.         Gerace 's        house with            the    risk of


  19    probation       showing          up    there.         So    I    think that            that's      the     risk.

  20                   THE COURT:              Yeah,        you    know,     I   was going            to   follow up


  21    with   that     and       right       at    the     very    end,     you    kind        of got       me    and


  22    brought   up     that      point.


  23                   You    know,       if       he's     going       to do    something at              Pharaoh's,


  24    why doesn't          he   do    it     at    his house?             And you're              saying    that

  25    people are       less       likely to go              to   his      house because probation can
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 7 of 29

                                                 Proceedings           - 4/14/21                                            6




       1   come       to    Pharaoh's      and keep an eye on him there.

       2                    MR.    TRIPI:        I    understand        that,    Judge.        It goes back

       3   to,    I   guess,       my    first       sentence,     where      there     is   a will,          there    is


       4   a   way,        sort of undermines my argument a                      little bit.

    5                        But I      think when you're              talking about mitigating risk

       6   and assessing dangerousness,                         it's   playing        the percentages a               bit,

   7       and    I         a    lot of    the       —   although      there     is   some    conduct that he

    8      engaged in at his               home,         the bulk of     the     conduct      in       this very

   9       serious         indictment occurred at                 Pharaoh's.

  10                        THE COURT:           Has      there been     any     indication            that


  11       Mr.    Gerace         has participated in              illegal       conduct      at    Pharaoh's

  12       since his            arrest    on March         - well,      it    hasn't    been anything since

  13       March      1.     Any    illegal conduct at all                   since March          1?

  14                        MR.    TRIPI:     Not        that    I'm   aware    of    through probation


  15       notifying us of anything,                      no.



  16                        THE COURT:       What         about    obstruction?             He was      aware of

  17       this    investigation in              December of 2019?

  18                        MR.   TRIPI:     Correct.


  19                        THE COURT:       At       that point        in    time,    any evidence,            any

  20       indication of obstruction or                         tampering      since    then?

  21                        MR.   TRIPI:     We       have      recently,      relatively recently,

  22       obtained search warrants                      for his    Facebook account.                  There has

  23       been a witness            that received threats                   through a       Facebook account

  24       during a         scenario where Mr.              Gerace was present with                    the person

  25       who was              we're still          investigating it.            So    I    don't      want    to go
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 8 of 29

                                               Proceedings          -    4/14/21                                             7




    1   too   far    into it.


    2                 But essentially,                  Mr.    Gerace was         with       a    person who was


    3   Facebook messaging a                   witness,        essentially calling                  the witness a


   4    snitch      and    things         of   that     nature,      which       was    perceived          as    a


    5   threat by         the witness.


    6                 THE       COURT:         Can    you     give me      a    date on          that?     When did


   7    that allegedly occur?


   8                 MR.        TRIPI :        If    I may consult with Mr.                      Cullinane.


   9                  THE COURT:               Sure .


  10                 MR.        TRIPI:         That     occurred,        I'm correct,              that    that


  11    occurred      in    or       about November of              2019,       which would have been


  12    maybe    about      a    month before            the    search warrant.


  13                  But       the other           thing I     would point            to,       Judge,    and       I


  14    referenced in            a    footnote,         is    that Mr.      Gerace has             sued    two people


  15    in   State Court             that he believes            to be witnesses.


  16                 Now,        obviously,           there are statutes                relating to

  17    retaliation,            relating to           the     filing of civil            suits         against


  18    potential        witnesses         as    a means       of    circumventing               federal


  19    discovery laws,              as   this      case was        in   the Grand Jury at                 the       time.


  20                 We obtained court orders                        from Judge Arcara to                     stay

  21    those,    enjoin         those     state cases.              But    I   would point             to,     there    is


  22    another     indication of               Mr.     Gerace      trying      to    out witnesses.


  23                 I    mean,       what      happens when you do                  that,       you   out


  24    witnesses publically,                   it creates an environment ripe                            for other

  25    people who        you may be            associated with             criminally to --
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 9 of 29

                                        Proceedings                   -    4/14/21                                                8




   1               It    creates opportunities                            for    intimidation and public


   2   pressure of witnesses who                      shouldn't be                   exposed until             trial.        So


   3   he's already started down                      that path,                in    our view,          at    least.


   4               THE COURT:           Can't          I    create a             window of          opportunity


   5   every morning,          7:30 to          10:30,       something like                      that,    and impose


   6   conditions       that he's by himself in                           that building?                  Doesn't          that

   7   satisfy your concerns,                   Mr.    Tripi?


   8               MR.    TRIPI:        I       think             I    don't          —     it    doesn't          satisfy


   9   my concerns,       Judge.        You       certainly have                      the    authority             to do    so,


  10   but    it does not,       on the whole,                  satisfy my concerns.


  11               THE COURT:           Let       me       talk       about          the    statement          in    your


  12   papers    that    Mr.    Gerace          said he         hadn't          had        cocaine       in    a    year    and


  13   a half,    but,    in    fact,       tested positive.                         Tell me about that and

  14   tell me about how that bears                        on     this      issue.


  15               MR.    TRIPI:        Well,          anything that                   is going          to be


  16   proffered to you on his                  behalf,          counsel's                 relying on

  17   representations from their client.

  18               And you       have       a    recent         example              that    is    consistent with


  19   his prior    federal conviction for defrauding the — conspiracy to

  20   defraud the United States.

  21               You    have    a   recent           example            where       probation,              the day of


  22   his    arrest,    asks    him about             drug     usage.               He admits           to using

  23   pills,    but doesn't acknowledge that he                                 used cocaine.

  24               And then after               the appearance in                       Florida,         we        find out


  25   he    testified positive         for           cocaine,            indicating              that he      lied     to
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 10 of 29

                                          Proceedings          -   4/14/21                                       9




    1   the probation officer.


    2                    So he's    an unreliable reporter of                  information        to you

    3   and    I    think that's borne out by the                    fact    that he — or

    4   corroborated by the fact that he got                         employees of his            to submit

    5   affidavits that we believe are demonstrably false.

    6                    So you're relying on his representations through

    7   counsel,         obviously.      Counsel        is    only   as     good   as   the


    8   representations            from the client and we don't                    think that        the


    9   Court should find Mr.              Gerace       to be a      credible       reporter to          this

   10   Court .


   11                   THE COURT:      And      I    think    you may       have been        referring     to


   12   the prior         federal   case    in       front of Judge Skretny.

   13                   There was      also something           in   your papers about,              I   don't

   14   know       if   it was a violation of            supervised release or just some

   15   miscommunication or misrepresentation to probation about his


   16   place      of employment.          What's going on            there.

   17                   MR.   TRIPI:    He was        representing that he worked at his


   18   family's        restaurant on       Transit while maintaining employment at


   19   Pharaoh's.


   20                   So they essentially did a probation search of

   21   Pharaoh's Gentlemen's             Club on October 31st,                2009.      Based upon


   22   information probation received from witnesses                               that he was

   23   selling cocaine          there.


   24                   That’s   attached to my papers as                   Exhibit D.         The


  25    dancers were the           reporters of information at                     that time,
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 11 of 29

                                               Proceedings                4/14/21                                           10




       1   indicated that Gerace                not     only ran the club,                      but    he was

    2      distributing cocaine                from that         location.

    3                   Obviously,          that's       also consistent with                         this

    4      indictment.         You have a            lengthy stretch of                    time going back many,

    5      many years     now,         where    this     conduct          is    alleged.


    6                   THE    COURT:          Was     there     a    violation            in    that    case    that


    7      was   adjudicated?


    8                   MR.    TRIPI:          Yes .     It was          resolved,          I    think,      by a

    9      modification,           Judge,   but        it was        in that case,               Mr.    Bongiovanni,

   10      the co-defendant,             tied into.

   11                   Because he had nothing to do with                                  the search and these

   12      are   laid   out    somewhat         in     the   —   some          of    the    overt       acts    of   this


   13      indictment.


   14                   Mr.    Bongiovanni had nothing to do with                                     that search,

   15      but   he   generated a         false        report within                the    DEA       system,


   16      indicating that             Peter Gerace was              a    confidential                source,    that   he

   17      wanted     to cooperate.


   18                   And Bongiovanni reached out                            to probation in an effort

   19      to say,     he's going to cooperate and,                         you       know,          if you give him

  20       essentially a break on                this violation.

  21                    Around that         same       time,     an       FBI   agent           is    conducting

  22       independent investigation and                      looking to bring a                       case against

  23       Gerace     related to        Pharaoh's.           So over a decade ago.

  24                    But what        happens        in    that        scenario          is    when you have

  25       someone who        is   a   confidential          source         for      one        federal      agency
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 12 of 29

                                             Proceedings             4/14/21                                     11




       1   being investigated by another,                    well,      it   reverts back         to    the

    2      agency who      is    not    controlling their source.


    3                 So Bongiovanni              represents        that Gerace           is my source to

    4      probation and to the FBI .                 The    FBI    essentially drops             their


    5      investigation of Gerace and then                       nothing happens.


    6                 Then        that's     laid out       in    the   indictment in some of the

    7      overt   acts,    if    you    follow chronologically,                 October 31st,

    8      November   2nd,       November      4th.


    9                 And Bongiovanni,               who had nothing to do with this

   10      probation search,            is calling probation on his behalf.                            And

   11      that's another part of              it    here,       Judge.

   12                 He's       charged with         bribing a         federal agent.            He ' s     got a

   13      lot of contacts in law enforcement.                          He's    got   a   lot    of    contacts


   14      in the criminal world.


   15                 And every opportunity that he has where he's not being

   16      monitored,      or not      in    jail,    frankly,       is    an   opportunity to violate


   17      any conditions         that      this Court       sets.


   18                 THE COURT:            All     right.       And before       I   ask Mr.         Daniels a

   19      couple of questions,             you     know,    I’m thinking about             it and,        you



  20       know,   the Government hasn't               asked       for detention          here   and there


  21       hasn't been a proffer heading                    in   that direction.

  22                  And    I,    you know,         I understand that            this is pretrial

  23       and he's presumed innocent and                    I   don't     really particularly like

  24       it when people tell me              that because I             know that it is.

  25                  MR.    TRIP!:         Right.
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 13 of 29

                                                 Proceedings         -    4/14/21                                             12




       1                    THE COURT:           But    I've   got       to   keep       that    in    mind,    too .


    2      And    if   you    want       to    put    everything      forward and ask                  for detention,


    3      then      that's       a    whole different         set    of proffers               from you.


    4                       And maybe that's not               the    amount of detail                  you    prefer

    5      to give      to    the defense right now.                     So    I'm within             this    constraint

    6      of    talking about the condition,                    right?

    7                       MR.       TRIPI:     Right.


    8                       THE       COURT:     Just    the   condition,            I    think.        So    let me

    9      keep going and               I'll   come back       to you,         Mr.       Tripi.

   10                       Mr.       Daniels,    do you want to say something about                               the

   11      cocaine use            first and then we will go to the                             next few questions?

   12                       MR.    DANIELS:           Yes,   Judge.       He was          in    Florida on

   13      vacation         and had been          with some      individuals and apparently,                             he

   14      did test         positive for          it.


   15                       And might have been some confusion at                               the time.          I 'm


   16      not certain,           but     I'm not challenging that,                      Judge.        That

   17      apparently,            did occur here and he               should have been,                 had he

   18      known,      he    should have been more               candid with probation.


   19                       We're not trying to hide from that.                                We're    not    trying

   20      to duck      that.          But he's been         100 percent clean since he's been

   21      back here,         Judge.


  22                        No alcohol,          no substances.               He's    following all            the

  23       rules .     He's been compliant 100 percent.                              Mr.       Macaluso       is   here.

  24       He can confirm that with the Court.

  25                        THE COURT:           In   your   papers,          Mr.    Daniels,         you    set   forth
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 14 of 29

                                            Proceedings       -   4/14/21                                             13




    1   a    number of things          that Mr.       Gerace does        or    needs to do or ought

    2   to    do   to   run   the business on          a    day-to-day basis.               How has             the


    3   business been           running      since he's       been arrested on May                    1?

    4                   MR.   DANIELS:        It's    running well,           Judge.        It's       a very

    5   popular destination for                   individuals and patrons.                  They're quite

    6   busy there        and it's      a    very successful gentlemen's                    club,          as   we



    7   say.



    8                   THE COURT:          Right.

    9                   MR.   DANIELS:        But    he's    worked    there     for a number of


   10   years .     His mother owned it in 2005.                      He bought        it    in       2014      and,

   11   you    know,     in   the bar       and   restaurant business,            there's             an old


   12   saying that nobody counts                   the money better than              the owner.


   13                   And it's a very,            very heavy cash business.                     I    could


   14   say to the Court             that    from what       we understand,        80 percent of


   15   that business           is   cash.


   16                   And routinely in            the mornings,        when he's available,

   17   when he's        in town or didn't have a commitment                      to his          son with

   18   whom he has —            for whom he has            custody,     he would be         there.


   19                   And he would count the receipts from the night before

   20   which sometimes on weekends,                  are quite heavy,           substantial .                   He


  21    would make        all    the deposits,        he would balance           the checkbooks,                      he

  22    would pay all the bills,                  he would do all         the ordering.

  23                    That's what he's been doing                for    years,       Judge.          While


  24    he's   been     at home,       he has someone else do that for him and he's

  25    on   the phone with          them and back and            forth.
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 15 of 29

                                                 Proceedings         -    4/14/21                                             14




    1                   But      I    think he would           feel       a    lot more secure                if he were

    2   able      to do     that       himself.         It’s    a    job       that       he    has    done    for       years


    3   and years.


    4                   Mr.      Tripi made mention of a                       gentleman who has been

    5   doing some work                there     for him.           His       name    is John Ermin and

    6   Mr.    Ermin has             worked for Mr.          Gerace           for    six or       seven years.

    7                   He's         the day manager           and he          explained          to    an    agent,


    8   maybe a     year and a              half ago,        that when              Mr.    Gerace would be


    9   unavailable,             he would do           the banking            and handle all                 the cash.

   10                   I   spoke       —    I   have    spoken       to Mr.          Ermin.           He's    a    very

   11   nice guy and he                told me     that he just               isn't        comfortable with                that

   12   responsibility of handling all                         the cash              and making sure

   13   everything          is    right.


   14                   Because as we say,                  no one does              it better          than       the

   15   owner.      Mr .      Ermin,       who    is    referred to as Tommy 0.,                         was       a member,


   16   I    believe,       of Outlaws           Motorcycle Club,               as        Mr.    Tripi has

   17   mentioned.


   18                   He rode        a    Harley motorcycle                 for some           years    and I          think


   19   it    —   he was         involved in           an accident            some years           ago,       too,    and it

   20   cost him one of his legs.                        I believe his                left leg,          above his

   21   knee,     was    amputated.


   22                   But he does his best.                     He's        dependable.              We're        not


   23   saying he's         not,       but   it’s      just very difficult                       for Mr.      Gerace not

   24   to do     this work himself and the ordering,                                     too,   of ordering all

   25   the    food and the            liquor.         He   has     his       own     system       for    doing       that.
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 16 of 29

                                            Proceedings          -    4/14/21                                           15




    1                 And all       we're        asking    the Court         is    to    allow him to go


    2   there a    few hours           in   the morning          from 7:30         to    10:30 or 8:00             to

    3   11:00    under any circumstances or                      conditions         that       this    Court


    4   would approve and just do                      the work and         the    routine that he has


    5   done    for years and years,                   Judge.


    6                 THE    COURT:         I    know    that    this      isn't    the       test.     It might

    7   be   coming at       it   from the other direction,                       but    is    there any duty


    8   that    only Mr.      Gerace can              fulfill    on   a    day-to-day basis             or


    9   week-to-week basis?


   10                 MR.    DANIELS:            Well,    he's    been doing            it by himself for


   11   years   and    years.          It's      the old story,            when you have to depend on

   12   others,    you are        always         concerned and sometimes                  it doesn't         work


   13   right   and    there      is    a   lot       of questions         that go back and             forth.


   14                 It's    just      something that he                 feels    responsible          for.       He


   15   feels   confident in doing and,                    as    we say,      Judge,          it's a          it's      a


   16   very substantial cash business.


   17                 And he      feels         that    that's    something he should be


   18   responsible for himself in making sure everything is handled the

   19   right way.


   20                 THE    COURT:         If    we    created this         window       that    I've been


   21   suggesting,         maybe      7:30      to    10:30,    is Mr.      Gerace      capable       of


   22   keeping other people out of the building?


   23                 In other words,                 deliveries,         beer,    liquor,       food,       the


   24   person who      is    going to mop and sweep,                      vacuum.        Is he going to be


   25   able to create an environment where he's                              all by himself in
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 17 of 29

                                            Proceedings                -   4/14/21                                         16




        1   there?     Because if he            is allowed to do this and we have other

    2       people coming and going                  then       the party is over,              right?

    3                      MR.   DANIELS:        Judge,          we would make every effort                          to

    4       comply with any condition                     that    this Court believes is

    5       reasonable.


    6                      Maybe   8:00    to    11:00 might be a                 little easier for us

    7       than    7:30    to   10:30,    but       if    the    Court      insists     on     7:30       to    10:30,


    8       we will do       that.

    9                      We would see         to    it       that    we would not be           in       contact

   10       with    anyone.       The business doesn't open until                          12 o'clock.                No


   11       one comes       in until      noon.       And        I'm sure we could make


   12       arrangements that we would be able                             to handle     that ourselves.

   13                      THE COURT:       But       I've       got   something.          I    thought          I   saw


   14       Ermin's declaration indicating                        that he comes          in     at    11:00.          So   I


   15       mean,   that's part of          it.           If   I'm going to do           this,        I    have got        to


   16       avoid overlap.


   17                   MR.      DANIELS:       We    will       see       that   Mr.   Gerace would be


   18       there without         the presence of               Mr.    Ermin,      Judge.


   19                   THE COURT:          Mr.      Daniels,          would you comment                  for me on

   20       Mr.   Tripi's argument about the credibility of                                the presentation

   21       that Ermin's         declaration contradicting what                         he has told the FBI.

   22                  MR.       DANIELS:       Judge,          there might have been                     some

   23       measure of      confusion       there,         Judge.          Mr.    Ermin,       from what he has


   24       told me,   would handle          the money and the deposits when Mr.                                     Gerace

   25       would not be         available.
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 18 of 29

                                                Proceedings          -   4/14/21                                        17




     1                     There       may be    several       reasons       for    that.       Mr.    Gerace      may


    2    have       been    on    vacation.           He   takes     frequent       vacations.            Number


    3    two,       he may have a          commitment          to his       son    in   the morning.


    4                      He may be unavailable for other reasons in                                 the morning

    5    which        would cause         Mr.    Ermin to        take     care    of    the    banking,      but


    6    it's       for a    limited period of                time,      Judge.


    7                      Mr.    Ermin    is    aware      that     that    is   Mr.    Gerace ' s


    8    responsibility and routinely,                         he almost always handled that and

    9    as    Mr .    Ermin      had said to me when                I met    with him,         that      there    is   a


   10    lot of cash             that comes into Pharaoh's                   from all         the patrons.


   11                      And he       just    doesn't       feel    comfortable with              the


   12    responsibility of handling all                         that cash and he would prefer

   13    that Mr.          Gerace do that             himself.


   14                      THE    COURT:        Mr.    Tripi,       in my view,         and maybe         I'm going


   15    to    be     proved wrong.             Maybe      I won 1 1 .    But     in my view,          allowing


   16    this       to happen for a window of time in                         the morning with

   17    conditions          that nobody else is                there and including my clear


   18    unwillingness to                tolerate a violation of                  these     conditions,           isn ' t


   19    it    likely       that       anybody under these circumstances would comply?


   20                      This    is    their window to make it happen and if

   21    Mr.    Macaluso          is    checking       in or any other governmental                     agency


   22    wants        to   take a       look and see what's going on,                     isn't       there a      high


   23    likelihood of             compliance here?


   24                      MR.    TRIPI:        Judge,      one would        think so,        but   we've been


   25    more       than    surprised before and                I   think    that,      you    know,
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 19 of 29

                                            Proceedings            -   4/14/21                                   18




    1   obviously,          the    only place       that      we    would      ever be        sure would be      in


    2   a    detention       situation.


    3                  I    understand that's             not      this.       I    just think the next

    4   safest       thing is what we             requested,           which       is,   he   is   locked down,

    5   confined to his             home.


    6                  But    I    understand the premise of                       your question,       Judge,

    7   but given          this defendant's             track      record,     both prior to this

    8   indictment and as             alleged in          this      indictment,           I would answer,

    9   no.



   10                  I    don't    think we             I   don't      think       — maybe anyone who


   11   wasn't a       felon,       who   has     recently lied            to probation and who is

  12    alleged to have             commit       these.       If we're       talking about           someone

  13    else,       then sure,       but not him.


  14                   THE COURT:           Mr.    Macaluso,           you have been          listening in.

  15    Do you have anything to add at this point,                                  while I’m still

  16    considering          the    issue?


  17                   MR.    MACALUSO:           No,    Your    Honor.        The defendant has been

  18    compliant to date with his conditions.                               No alcohol condition.

  19    He removed all             the alcohol          from his residence.

  20                   He    is    on active GPS.             We would be able to track him,

  21    where he's going,             how long he is at the workplace and then I can

  22    also pop in to make sure that he is alone on those hours if you

  23    do    set   them.         But we would have no objection to him going to

  24    work for a          few hours       in    the morning.

  25                  THE    COURT:         Under       the   statute,       which is
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 20 of 29

                                          Proceedings                 4/14/21                                19




    1   18   U.S.C.     3145(a) ,    I    must       independently determine               if    the


    2   amendment       that's     requested is         consistent with             3142(c)(1).


    3                 In    other words,         I   must    determine whether             the


    4   conditions         imposed are      the      least       restrictive combination of

    5   conditions         that will reasonably assure the appearance of the

    6   person,    as      required in the safety of any other person in the

    7   community.


    8                 And I've been         thinking a               lot about    this and       it's


    9   certainly not an easy question and certainly not easy                                     if you are


   10   trying    to get it        just   right.


   11                 As    I   mentioned earlier,               I    spent a    lot of    time


   12   pondering       this,     including now on               the bench.        In    deciding the


   13   motion,    I must balance the Government's concerns about safety of

   14   others in       the community with Mr.                   Gerace's concerns about

   15   operating a lawful business.

   16                 And I must ensure that                 I       comply with the statute and

   17   impose the least restrictive conditions necessary to guard

   18   against danger to others in the community,                              without imposing

   19   conditions that border or can be perceived as punitive in a

   20   pretrial      context.

   21                 My analysis is         —       I'm attempting to drive the analysis

   22   this way by the statute and not                      look solely at,            which I        think is

   23   something in the           reverse.


   24                 Looking solely at what                 it      is that Mr.        Gerace

   25   absolutely must do to keep his business running because I think
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 21 of 29

                                              Proceedings           -   4/14/21                                      20




        1    that's backwards under              the statute.

       2                    So   I'm   trying    to    use    that as       a   relevant consideration

       3    but    to   stay within         the confines           of   the statute which            is   to

       4    impose      the     conditions      that    are       the   least       restrictive      under     the

       5    circumstances .


       6                    I've    considered        the    factors      and       the   statute,    including

    7       all    subsections,        and    including           the nature and circumstances of

    8       the offenses charged,              the weight          of   the evidence proffered to

    9       date,     his      history and characteristics and the danger to others

   10       in    the community.


   11                       And my analysis       of        the   factors       is    based,   as    well,     on



   12       the transcripts.            I    read the        transcript out            of Florida and          the

   13       transcript         in   front of Judge Roemer.

   14                       And I    read the pretrial             services memorandum dated

   15       March    4,     2021,   and I    also read the second superseding

   16       indictment .


   17                      After considering all of                 this,       I    find that      the

   18       combination of conditions previously imposed is not                                     the least

   19       restrictive combination of conditions                         to reasonably assure the

  20        safety of others           in the community.

   21                      And in particular,           I    find that the            condition       that

  22        Mr.   Gerace stay away from Pharaoh's Gentlemen's Club at                                     999 Aero

  23        Drive,      Cheektowaga,        is more restrictive than necessary,                           as

  24        stated,       to   reasonably assure            the safety of others and                 the

  25        community.
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 22 of 29

                                              Proceedings         -   4/14/21                                 21




       1                  Under    these      facts,       the   lesser         restrictive condition

    2      that he       refrain   from visiting or               working        at    Pharaoh's,    except

    3      between certain designated hours                       serves        the purpose of

    4      Title    18   3142 (c) (1) (B) .


    5                     I   therefore grant          the motion         in part        and amend the


    6      conditions         of his    release as         follows:

    7                    The parameters             of the home detention                condition are

    8      modified to allow Mr.               Gerace      to leave his           residence for

    9      employment at         Pharaoh's between 7:30                 a.m.      and 10:30 a.m.      each

   10      day.


   11                    The condition          that he      stay away           from Pharaoh's      is

   12      modified to        state that he          shall       not visit Pharaoh's,           except


   13      between   those hours,             7:30    to   10:30 a.m.,           each day.

   14                    On days       that    he    is there working at                Pharaoh's,   he is

   15      to proceed directly from his residence to Pharaoh's and is to

   16      return directly         to   his     residence.            If he      needs    to make any stops

   17      along the way,         he can work with Mr.                Macaluso on          that and get

   18      those pre-approved.


   19                    When he's working at               Pharaoh's,           Mr.    Gerace must be

   20      alone.    He must not meet with or encounter any other employees

   21      of Pharaoh's.

   22                    He must not accept any deliveries of any kind and must

  23       not interact with any other person.                         He       shall    arrange employee

  24       and delivery schedules              to comply with this condition.

  25                     One additional condition                 that      I    wanted to get some
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 23 of 29

                                                    Proceedings        - 4/14/21                                                 22




       1   input       from counsel on               is    this.      My,    you     know,      what      I'm     doing


       2   here      is   I've got        to    try       to   imagine a         way to make            this     work,      a


       3   way      that's       fair.

    4                      And one        of    the       things     that occurs          to me is           the concern

    5      he's     already got conditions that he's                              not    to    tamper with

    6      witnesses or obstruct                     justice,        those       sorts   of     things.

    7                      But     is    there       a    concern     about       current       employees          there,

    8      that he might            tend       to communicate with current employees                                 there

    9      in   a   way    that's,        you       know,      leaving notes at               their lockers.                I


   10      don't     know what the situation is.                            Do   I   need      to   worry about

   11      something         like       that,       Mr.    Tripi?

   12                      MR.    TRIPI:            That    is   certainly going               to   be   a   challenge.


   13      There is a locker room where there is dancers.                                           There        is office

  14       space.         There is area behind the bar.

  15                       So,    Judge,        I    don't know how,             quite        frankly,       I    don ' t

  16       know how we would mitigate against leaving notes and                                              things         like

  17       that.       But      yes,     there are certain areas and plenty of places                                           to

  18       leave notes or              instructions.

  19                       THE COURT:               Mr.    Daniels,    do you have a                comment about

  20       that subtopic?

  21                       MR.    DANIELS:            Just     two   things,         Judge.         I   understand


  22       the Court has directed that Mr.                           Gerace be          there alone              from 7:30

  23       to   10:30.


  24                       He    tells me           that    there is    a    cleaning lady that                    comes

  25       in   from      9:00    to    12:00       and she sprays COVID protection,
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 24 of 29

                                               Proceedings       -    4/14/21                                    23




       1   anti-COVID          sprays    around the       premises         and generally cleans            up.

    2                     If the Court          insists,       we will       tell   her   to come at

    3      another       time.     But    I    just bring       that    to    the Court's      attention.

    4      Maybe the Court          would allow that             lady      to be    there at    that   time

    5      to    clean   up.      They    open    at   noon.      So    that's      why   they wanted       to

    6      have all       that    done before noon.


    1                    Secondly,        Mr.    Gerace    certainly understands all                 the

    8      conditions.           He's    not    to have    contact         with witnesses or

    9      co-conspirators .


   10                    We're     not    sure who a       lot of       those people are but as

   11      far   as employees go or              goes,    he   does    have phone contact with

   12      them during the day or in the evening.                            It might be a phone call

   13      where they ask him some                things.       He does       speak to       them.   But


   14      that's just routine business,                  Judge.

  15                     We understand the parameters here.                          We understand what


  16       we're supposed to do,                what we're not supposed to do,                  and we

  17       continue to comply and we will comply.                            Thank    you.


  18                     MR.    TRIPI:        Judge,     the only thing         I would add to         that

  19       is he's the owner of the building.                         He   could modify his opening

  20       and start time if he needed to,                     to also comply with the Court's

  21       time parameters,         so.



  22                     THE COURT:           Do you have a particular concern about

  23       overlap between Mr.            Gerace and the cleaning lady?

  24                     MR.    TRIPI:        Don't    know who the cleaning lady is,

  25       offhand.       We provided interviews from several                        Pharaoh's
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 25 of 29

                                       Proceedings                -   4/14/21                                 24




    1   employees .

    2                The cleaning          lady,       I    believe       to be at      one point,      was


    3   John     Ermin's   wife.      So    if    it's       still     that same person,             then now

    4   you    know who    it   is.

    5               MR.    DANIELS:        May     I       just    have    a   moment?


    6               THE    COURT:      Yeah,       sure.


    7               MR.    DANIELS:        Thank you.

    8                (Discussion off             the       record.)


    9               MR.    DANIELS:        The cleaning               lady,      her name     is    Jennifer.

   10   I'm not    sure    of her     last    name.           She's       been      there   for a    long

   11   time .    That's    her    job.      Gets      there early             in    the morning and —


   12   excuse    me.



   13               What time does she leave?

   14               THE DEFENDANT:            Noon or             1:00.


   15               MR.    DANIELS:        She     leaves          at noon or         1:00,   depending on

   16   deliveries and she cleans                the place.

   17               THE COURT:        I'm not          hearing         from the Government that


   IB   it was particularly concerned about this Jennifer,                                    if she is a

   19   witness or      something else           in your case.                 Mr.   Tripi,   you don't

   20   believe that to be the case,                   do you?

   21               MR.    TRIPI:     I    would ask           that       she be     fully identified

   22   and if we need to follow up with her directly at some point,                                        we



   23   could.


   24               I'm not     saying she needs                  to be identified on the

   25   record but at least to probation,                         have her fully identified and
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 26 of 29

                                                   Proceedings               -   4/14/21                                     25




       1   we    can   give       it   a   shot,        go   from    there.


    2                     THE      COURT:          Is    that    acceptable?


    3                     MR.      DANIELS:             Certainly,           Your Honor.

    4                     THE COURT:            In       terms      of   identification               to


    5      Mr.   Macaluso?

    6                     MR.      DANIELS:          Certainly.                  We   will    call    Mr.    Macaluso.

    7      We will give him all the information.

    8                     THE COURT:            If      there    is      a particular concern about how

    9      she   relates          to   this    lawsuit with              this         criminal       case,    then we can

   10      worry about            that next,         okay?

   11                     MR.      DANIELS:          We will        take          care   of    that,    Judge.

   12                     THE COURT:            All      right.          I       am going to impose            this

   13      additional condition with one exception.                                       So   this     is    for

   14      Mr.   Macaluso can get it clearly and everyone can pay attention.

   15                     So no communicating with employees while you are

   16      there,      Mr.       Gerace,      in writing,           notes,            that sort of          thing.    And


   17      I'm going         to give you exceptions.

  18                      Your      managers,           if you need to                 leave   them a        checklist,

   19      fine,    but      I    don't want you communicating with any of the other

  20       employees by leaving notes for them during the day,                                               okay?    I


  21       think that's probably sufficiently stated,                                        Mr.   Macaluso.         So   you

  22       can write         it up,        okay?

  23                      MR.     MACALUSO:             All   right.

  24                      THE COURT:           Mr.       Gerace,         if you        have any doubt or

  25       question about whether a certain task,                                     I've tried to carve             this
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 27 of 29

                                             Proceedings                -     4/14/21                                  26




    1   up and    thread         the    needle         carefully.


    2                 So    if    you    are      in    doubt       about          any of   this,       speak with


    3   Mr.   Macaluso       first.          I    really          would       rather    not      have   a   situation


    4   where    you're coming in and                    telling me you made a mistake and


    5   didn't think about it.

    6                 I'd rather you               think about                it   first    and vet it with

    7   Mr.   Macaluso,          so    that we're not back here                        talking about whether

    8   you violated something.


    9                 Do you understand that?


   10                 THE DEFENDANT:                   Yes,       Your Honor.


   11                 THE COURT:             Also,       if       you    violate any of           the conditions


   12   I   just described,            and       that    will be set               forth    in   the written

   13   order,    a   warrant may issued                  for       your arrest and you may be


   14   detained for the entirety of your case,                                     pending trial.


   15                 If,   while on             this    release,             you violate        18 U.S.C.         1503,


   16   intimidation of witnesses,                       jurors,            and officers of the Court;

   17   1510,    which is obstruction of criminal                                  investigation;           1512,

   18   tampering with           a    witness,          victim,          or    informant;        1513,


   19   retaliating against the witness,                             victim,         or informant,           you may

  20    be charged with a              separate offense for that conduct.

  21                  Do you understand that?

  22                  THE DEFENDANT:               Yes,           Your      Honor.


  23                  THE COURT:          Mr.      Macaluso,                do you have anything to add

  24    or comments on           the conditions that I’ve                           stated?

  25                  MR.   MACALUSO:             Just        a   question,          Your   Honor.          It's    7:30
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 28 of 29

                                            Proceedings             -     4/14/21                                27




       1   to   10:30    daily,      correct?


    2                    THE   COURT:       Correct .

    3                    MR.   MACALUSO:          Okay.         Thank you.

    4                    THE COURT:         And you will             be    typing    this   up —

    5                    MR.   MACALUSO:          Yes .


    6                    THE COURT:         —     or making          it?

    7                    MR.   MACALUSO:          Yes.      I   can send up so ordered.

    8                    THE COURT:         Okay.         Yeah.         It doesn't     need    to be    typed.

    9      Sometimes      they're handwritten.                  So      either way,     you    will    be


   10      preparing      it and     I'll    sign     it?

   11                    MR.   MACALUSO:          Yes .

   12                    THE COURT:         All    right.           Mr.    Gerace    remains released,

   13      pending trial on          the conditions             I    just explained,          pursuant      to

   14      18   U.S.C.    3142 (b)    and    (c) .

   15                    The transcript of my oral ruling shall constitute my


  16       written findings and decision on Mr.                           Gerace's motion.

  17                     Counsel,     do you have anything?                    I    have nothing

  18       further.       Do either of        you?

  19                     MR.   TRIPI:       No,    Your Honor.

  20                     MR.   DANIELS:       No,    Judge.


  21                     THE   COURT:     Okay.           Very good.          Thank   you.


  22


  23                            (Proceedings concluded at                    10:37    a.m.)


  24


  25
Case 1:19-cr-00227-JLS-MJR Document 337-2 Filed 12/29/22 Page 29 of 29

                                                                                                  28



    1


    2    "I    certify     that   the   foregoing    is   a   correct   transcript,    to   the


    3         best   of   my ability,     from the    record of proceedings       in    the

    4                                   above-entitled matter."

    5


    6


    7     s/ Bonnie S.        Neber                            May 3,   2021
          Signature                                           Date
    8


    9   BONNIE S. WEBER

   10   Official Court Reporter
        United States District Court
   11   Western District of New York


   12


   13


   14


   15


   16


   17


   18

   19


   20


  21


  22


  23


  24


  25
